               Case 23-11069-CTG   Doc 1817-2     Filed 01/18/24   Page 1 of 36




                                      EXHIBIT B

                                        Redline




DE:4863-1243-6894.1 96859.001
               Case 23-11069-CTG              Doc 1817-2         Filed 01/18/24         Page 2 of 36




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )     (Jointly Administered)
                                                                     )

              [PROPOSED] AMENDED ALTERNATIVE DISPUTE RESOLUTION
                   PROCEDURES FOR CERTAIN LITIGATION CLAIMS

        These alternative dispute resolution procedures (the “ADR Procedures”) are designed to
promote the efficient resolution, by settlement discussions or mediation, of certain disputed
claims against the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), which Litigation Claims (as defined herein) may be covered under the Debtors’
Motor Carrier’s Indemnity Insurance Policies (the “ORIC Policies”) issued by Old Republic
Insurance Company (collectively with its affiliates, “ORIC”). The ADR Procedures will be
implemented, administered, and coordinated by ORIC in consultation with the Debtors, the
Committee, and any participating Third-Party Payors (as hereinafter defined) if applicable. For
the avoidance of doubt, and notwithstanding any other part of these ADR Procedures, the
Debtors and the Committee, in their sole discretion, may choose their level of participation in the
process, including whether or not the Debtors and the Committee choose to participate in the
resolution ofnegotiations regarding any claim. Pursuant to the ADR Order (as defined herein),
ORIC, together with the Debtors, the Committee, and the Third-Party Payors, if applicable, are
authorized to evaluate, settle, or otherwise resolve all claims that are potentially covered under
the ORIC Policies and/or by the Third-Party Payors, without further order of the Bankruptcy
Court.

I.           CLAIMS SUBJECT TO ADR PROCEDURES

        Other than the Excepted Claims (as defined herein), the ADR Procedures apply to any
individual or entity (the “Claimant”) holding a claim arising before August 8, 2023 for personal
injury and/or wrongful death, or for property damage, and any related claims, against the Debtors
or any of the Indemnitees (as hereinafter defined) (the “Litigation Claims”),2 including any claim
1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      A preliminary list of Claimants holding Litigation Claims that ORIC and the Debtors seek to liquidate through
      the ADR Procedures (the “Litigation Claims List”) is annexed hereto as Exhibit A. If ORIC becomes aware of
      any additional Claimant(s) (including by notification (email being sufficient) from the Debtors, the Committee,
      or any Third-Party Payor (as defined below)), an amended list will be filed with the Bankruptcy Court and an
      ADR Notice will be served on such additional Claimant(s) no later than 30 days following ORIC becoming
      aware of such Claimant(s).




0
              Case 23-11069-CTG        Doc 1817-2      Filed 01/18/24     Page 3 of 36




that is related thereto by way of, without limitation, subrogation, contribution, or
indemnification. Litigation Claims include claims against non-debtor third parties, which claims
are covered in whole, or in part, by the Debtors’ insurance policies or for which the Debtors
retain ultimate liability pursuant to contract, corporate by-laws and/or insurance policies and
related agreements (such non-debtor third parties are collectively referred to as the
“Indemnitees” and individually, as an “Indemnitee”). Indemnitees shall include, but are not
limited to: (a) any of the Debtors’ or their predecessor in interest’s current or former agents,
representatives, drivers, or employees; (b) any person indemnified by the Debtors; (c) any person
or entity listed as an additional insured under any of the Debtors’ insurance policies (including,
but not limited to, the ORIC Policies); (d) any current or former direct or indirect parent
corporation, affiliates or subsidiaries of the Debtors; (e) the officers, directors, and or employees
of the Debtors or of any such parent, affiliate or subsidiary; and (f) any other entity or individual
sharing coverage with the Debtors.

        The following claims shall not be subject to the ADR Procedures and shall not be
Litigation Claims (collectively, the “Excepted Claims”): (a) workers’ compensation claims;
(b) claims arising under a real property lease against the Debtors or any of the Indemnitees for
damages to the leased premises or other property covered by such lease; (c) direct claims against
the Debtors’ insurers arising out of claims for bodily injury and/or wrongful death in those states
allowing direct actions against insurers; (cd) claims (if any) where the automatic stay has been
lifted during the chapter 11 cases and which are being actively litigated in a nonbankruptcy
forum; (de) any claims or actions relating to any claims between the Debtors’ insurers, on one
hand, and the Debtors, on the other, including, but not limited to, any action relating to the
claims of the insurers and any actions relating to any irrevocable standby letters of credit or other
collateral provided by or for the benefit of the Debtors to the insurers, including any letters of
credit that were drawn down by ORIC or any Third-Party Payor (as defined herein) prior to or
after commencement of the chapter 11 cases (collectively, the “Insurers’ LOC
Proceeds/Collateral”); and (ef) any declaratory judgment actions regarding insurance coverage
issues.

        A preliminary list of Claimants holding Litigation Claims that ORIC and the Debtors
seek to liquidate through the ADR Procedures (the “Litigation Claims List”) is annexed hereto as
Exhibit A. If ORIC, any Third Party Payor, or the Debtors become aware of an additional
Claimant with a claim that was omitted from the Litigation Claims List, ORIC and the Debtors
may classify such claim as an “Additional Litigation Claim,” by filing notice with the
Bankruptcy Court and serving such notice on the holder of the Additional Litigation Claim. Any
Additional Litigation Claims shall be deemed included in the definition of “Litigation Claims”
unless determined not to be a Litigation Claim by order of the Bankruptcy Court.

      A Claimant need not have commenced any litigation, lawsuit, or any other
proceeding against one or more Debtors or their insurers to have a Litigation Claim.

II.      THIRD-PARTY PAYORS

       ORIC shall provide the Debtors’ other insurers, including excess liability insurers, and
any other third-party payors (collectively, the “Third- PartyThird-Party Payors”), to the extent
such insurers or payors are known to ORIC, and the Committee notice of any Potential

                                                 -2-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG        Doc 1817-2      Filed 01/18/24      Page 4 of 36




Third-Party Payor Litigation Claim (as hereinafter defined). Potential Third-Party Payor
Litigation Claims are Litigation Claims for which (i) the demand in a proof of claim or in the
Claimant’s Demand (as defined herein) exceeds the limits of any potentially applicable ORIC
Policy, (ii) the information in a Claimant’s proof of claim or Claimant’s Demand reasonably
indicates that a Third-Party Payor may be responsible for payment, in whole or in part, of the
claim and/or (iii) a Third -Party Payor has been named as a party in a suit or similar action or a
demand or claim has been tendered against the Third-Party Payor directly (the “Potential
Third-Party Payor Litigation Claims”).

         The applicable Third-Party Payor shall have the right, but not the obligation (except as
may be provided in the applicable policy), to participate in any discussions, negotiations, dispute
resolutions, mediations, and litigation (the “Proceedings”). The failure of the applicable Third-
Party Payor to respond to such notice or to decline to participate in the Proceedings at any time
(i) shall not be construed as a waiver of the right to participate in the Proceedings, and (ii) shall
not preclude the applicable Third-Party Payor from intervening or participating, in any way, in
the Proceedings at any time. If the applicable Third-Party Payor(s) elect(s) to participate in any
applicable stage of the ADR Procedures, ORIC (to the extent ORIC is aware of such Third-Party
Payor(s)) will send all relevant communications to the applicable Third-Party Payor(s). Further
details regarding the notice provided to the Third-Party Payors and any election to participate are
set forth in Section V below.

        Any amount of a Litigation Claim resolved by these ADR Procedures shall be paid in
accordance with the terms, provisions, conditions, and exclusions of Debtors’ insurance policies
(including, but not limited to, the ORIC Policies) by ORIC and/or the Third-Party Payor, who
may then exercise any right to reimbursement they may have under such policies and related
agreements against the Insurers’ LOC Proceeds/Collateral. For the avoidance of doubt, if a
settlement is reached pursuant to these ADR Procedures, ORIC and the Third-Party Payor (if
applicable) will be obligated to and will actually pay the agreed-upon settlement amount(s)
directly to or on behalf of the Claimant. If the Insurers’ LOC Proceeds/Collateral has been
exhausted, then ORIC or the Third-Party Payor may assert a general unsecured claim for the
reimbursement of any such amount(s) paid by ORIC or the Third-Party Payor to resolve a
Litigation Claim resolved by these ADR Procedures, subject to the right of all parties (including
the Debtors and the Committee) to object, and, if allowed, such claim shall be treated and
satisfied in accordance with the chapter 11 plan to be filed by the Debtors (the “Plan”). Any
settlement of a Litigation Claim shall include a waiver and release of all claims against the
Debtors, their chapter 11 estates, the Indemnitees, and ORIC (and the Third-Party Payor, if
applicable), unless the Debtors and the Committee consent otherwise.

III.     RESERVATION OF RIGHTS

        Nothing in these ADR Procedures shall: (i) modify, alter, or amend the terms, provisions,
conditions or exclusions of any insurance policies issued or providing coverage to the Debtors or
of any related agreements; (ii) modify the Debtors and/or their estates’ obligations (if any) to pay
any retentions or to pay (or reimburse an insurer for) any deductibles; (iii) release ORIC or the
Debtors and/or their estates of any of their obligations (if any) under any insurance policies and
related agreements; (iv) create or permit a direct right of action by any Litigation Claimant
against any insurers of any of the Debtors and/or of any non-Debtors; (v) preclude or limit, in any

                                                 -3-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG       Doc 1817-2     Filed 01/18/24     Page 5 of 36




way, the rights of any insurer to contest and/or litigate the existence, primacy, and/or scope of
available coverage under any allegedly applicable insurance policy or to otherwise assert any
defenses to coverage; or (vi) constitute a finding, admission or determination as to the existence
of coverage or the applicability of any insurance policy and its respective terms, provisions,
conditions or exclusions, with respect to any Litigation Claims. Notwithstanding anything in
these ADR Procedures, the administration of any Litigation Claim pursuant to these ADR
Procedures shall not give rise to any administrative claim against the Debtors or their estates.

        By participating in these ADR Procedures, ORIC and the Third-Party Payors do not
waive any coverage defenses they might have, including the right to deny coverage, and do not
waive any claims they might have against the Debtors or any other person or entity. ORIC and
the Third-Party Payors reserve all of their rights to seek to apply any of the terms, provisions,
conditions or exclusions set forth in the insurance policies issued to the Debtors (including, but
not limited to, the ORIC Policies) and to review and reevaluate coverage determinations as facts
and circumstances may warrant. The Debtors and all parties in interest reserve all rights, claims,
and defenses related to any coverage disputes related to these ADR Procedures or any of the
insurance policies issued to the Debtors. Further, the Debtors and all parties in interest reserve
all rights, objections, and defenses with respect to any general unsecured claims asserted against
the Debtors pursuant to these ADR Procedures.

        Nothing in these ADR Procedures shall modify or alter any requirement for a Claimant to
file a proof of claim in the Debtors’ chapter 11 cases by the applicable deadlines established by
the Bankruptcy Court. The Debtors and all parties in interest reserve all rights, claims, and
defenses with respect to any proof of claim related to a Litigation Claim or the lack of a timely
filed proof of claim related to a Litigation Claim. [For the avoidance of doubt, ORIC shall not
settle any Litigation Claim with a Claimant who has not filed a timely proof of claim, without the
prior written consent of the Debtors and the Committee (such consent not to be unreasonably
withheld).]

IV.      ADR INJUNCTION

        Upon entry of the order of the United States Bankruptcy Court for the District of
Delaware entered in the above-captioned cases establishing the ADR Procedures (the “ADR
Order”), all of the Claimants (and any other persons or entities asserting an interest in the
relevant Litigation Claim) shall be and shall continue to be, as applicable, enjoined from
commencing or continuing any action or proceeding in any manner or any place, including the
Bankruptcy Court, seeking to establish, liquidate, collect or otherwise enforce any Litigation
Claim against any Debtor other than through the ADR Procedures described herein (or as
otherwise agreed by the Debtors and the Committee) (collectively, the “ADR Injunction”). The
ADR Injunction shall be in addition to, and cumulative with, the injunction applicable to the
Litigation Claims and the Claimants, including the automatic stay, any other injunctions under
the Bankruptcy Code, or as set forth in any chapter 11 plan of the Debtors (the “Plan
Injunction”).

       In addition, the ADR Injunction shall enjoin the Claimants to the fullest extent permitted
by applicable law from proceeding against (i) the Indemnitees and (ii) ORIC and all Third-Party
Payors, in each case solely with respect to the Litigation Claims, and with the exception of the

                                               -4-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG        Doc 1817-2      Filed 01/18/24     Page 6 of 36




Excepted Claims. If the ADR Injunction is lifted by order of the Bankruptcy Court, the
Claimants may proceed against the Debtors and the Indemnitees in forums outside the
Bankruptcy Court, provided that the Claimants waive and release any and all claims against the
Debtors, their chapter 11 estates, and the Indemnitees and their personal assets, and agree to
proceed solely against insurance proceeds.with their Litigation Claims in accordance with the
terms of any such order.

        The ADR Injunction shall expire with respect to a Litigation Claim only after (i) the ADR
Procedures have been completed with respect to such Litigation Claim, and (ii) only as provided
for herein.

V.       ADR PROCEDURES

       Prior to sending the ADR Notice (as defined herein) to the Claimant(s), ORIC, to the
extent it is aware of such Third-Party Payors, shall provide notice to any known applicable
Third-Party Payors and the Committee (the “Advance Notice”) of any Potential Third-Party
Payor Litigation Claim. If applicable, the Advance Notice may also include any Immediate
Claim Settlement Offer (as defined herein) that ORIC and the Debtors propose to make to a
Claimant.

       Within 10 days of service of the Advance Notice, the Third-Party Payor must advise
ORIC and the Debtors in writing (electronic mail being sufficient) if it elects to participate in the
Offer Exchange Procedures (as defined herein) as to that particular Litigation Claim. If the
Third-Party Payor does not respond within 10 days of service of the Advance Notice, ORIC and
the Debtors may proceed to engage in the Offer Exchange Procedures; provided, however, that
ORIC and the Debtors shall not make or accept any settlement offers without the prior written
consent of the Third-Party Payor unless such settlement offers do not require any payment by
such Third- Party Payor.

        ORIC shall pay all fees and costs related to the administration of these ADR Procedures
and the subsequent defense of the Litigation Claims, including with respect to the defense of the
Debtors or any of the Indemnitees, from the Insurers’ LOC Proceeds/Collateral. To the extent
the Insurers’ LOC Proceeds/Collateral has been exhausted, then ORIC may assert a general
unsecured claim for the reimbursement of any such fees or costs, which shall be treated and
satisfied in accordance with the Plan.

        Any payments under any of the Debtors’ insurance policies in excess of $500,000 (or, to
the extent that the Insurers’ LOC Proceeds/Collateral have been exhausted, $250,000) with
respect a Litigation Claim shall require the Debtors’ and the Committee’s written consent (not to
be unreasonably withheld); which consent shall be deemed given if the Debtors and the
Committee do not respond to ORIC’s request for consent within twenty-four hours if the offer is
made outside an in-person mediation and within three hours if the offer is made during the
course of a formal in-person mediation (including an ongoing Zoom mediation). As further
explained above and otherwise in Section V.I, for any settlement reached pursuant to the
ADR Procedures, ORIC (and/or any Third-Party Payor, if applicable) will be obligated to
and will actually pay the agreed-upon settlement directly to or on behalf of the Claimant.



                                                 -5-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG          Doc 1817-2     Filed 01/18/24    Page 7 of 36




        If, after conclusion of the ADR Procedures, any Claimant wishes to lift the ADR
Injunction to continue to pursue Litigation Claims, then such Claimant shall be required to waive
any and all claims against the Debtors, the Debtors estates, and the Indemnitees and may then
pursue such Litigation Claims solely to the extent of insurance proceeds (if any).

         A.       Stage 1: ADR Notice

        Within 30 days of theAs soon as reasonably practicable, but no later than 60 days
following entry of an order approving the ADR Procedures and the date the Advance Notice is
served, ORIC and the Debtors (if they exercise their discretion to participate) will serve a notice
(the “ADR Notice”), substantially in the form annexed hereto as Exhibit B, to the holders of
Litigation Claims and the Committee. The ADR Notice will inform the Claimants that the
Litigation Claim is included in the ADR Procedures and, either (i) make the Immediate Claim
Settlement Offer (as is hereinafter defined), or (ii) require the Claimant to return the ADR Notice
with the Claim Information and Settlement Demand Form (as hereinafter defined) and provide
supporting claim information. Upon the Claimant’s request, ORIC and the Debtors will also
provide copies of the applicable insurance policy or policies relevant to a particular Litigation
Claim.

       Within 30 days after they become aware of any Additional Litigation Claim, ORIC and
the Debtors (if they exercise their discretion to participate) shall also serve the ADR Notice to
such Claimant.

       The ADR Notice shall require the Claimant to respond to the ADR Notice so that ORIC
and the Debtors will actually receive the response no later than 340 days after the date on which
the ADR Notice is served (the “Claimant Response Deadline”).

        For purposes of the ADR Procedures, service on a Claimant and any communications
(including responses) to a Claimant shall be deemed adequate if such service is provided to the
Claimant: (i) at the email address(es) of their counsel, if counsel has appeared, specified in their
filed proof of claim and of their counsel of record in these cases or in the pending litigation, if
any; and (ii) if Claimant does not have counsel, then at the email address(es) of Claimant, if
known; and (iii) by mail. If no email address is known for the Claimant or the Claimant’s
counsel, ORIC and the Debtors shall serve Claimant using a regularly recognized delivery
service so that Claimant receives the notice within five days of mailing. Service on ORIC and
the Debtors and any communications (including responses) to ORIC and the Debtors shall be
deemed adequate if made by email at the email addresses set forth in the ADR Notice or if made
by using a regularly recognized overnight delivery service sent to the addresses set forth in the
ADR Notice.

                  1.        Immediate Claim Settlement Offer

        For any Litigation Claim equal to or less than $50,000, ORIC and the Debtors (with the
consent of the Committee)ORIC may, but areis not required to, include in the ADR Notice an
offer to pay the Litigation Claim in the amount asserted by the Claimant or any lesser or different
amount less than the caps set forth in Section V.B.1.b., as determined from ORIC and (if they
elect to participate) the Debtors’ reasonable review of the Litigation Claim (“Immediate Claim


                                                  -6-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG          Doc 1817-2     Filed 01/18/24     Page 8 of 36




Settlement Offer”). If an Immediate Claim Settlement Offer is included in the ADR Notice, the
Claimant shall have the option to sign and return the Immediate Claim Settlement Offer without
providing any additional information required by the ADR Procedures, in which case the
Litigation Claim will be paid by ORIC (and/or another Third-Party Payor, if applicable) in
accordance with the applicable insurance policy. If the Claimant fails to respond to the
Immediate Claim Settlement Offer by the Claimant Response Deadline, ORIC and the Debtors
shall re-serve the ADR Notice (the “Second ADR Notice”) on the Claimant in accordance with
the service requirements set forth in Section V.A above, and the Claimant will have an additional
30 days from the date of service of the Second ADR Notice to respond to the Second ADR
Notice (the “Second Claimant Response Deadline”).

         If the Claimant elects Failure to sign and return the Second ADR Notice andto reject
the Immediate Claim Settlement Offer by , the Claimant must complete and return the ADR
Notice and the Claim Information and Settlement Demand Form by the Claimant Response
Deadline or the Second Claimant Response Deadline shall result in in the Claimant being
deemed to have accepted the Immediate Claim Settlement Offer and to have agreed and
consented to the proposed treatment of the Litigation Claim as set forth in the Immediate
Claim Settlement Offer. Any proof of claim filed by Claimant with respect to such
Litigation Claim will be deemed satisfied in full without further order of the Bankruptcy
Court if Claimant is deemed to consent to the Immediate Claim Settlement Offer pursuant
to this paragraph., as applicable, and as otherwise set forth in Section V.A.2 below.

        Failure of the Claimant to sign and return the Second ADR Notice and Immediate
Claim Settlement Offer by the Second Claimant Response Deadline will be deemed as a
failure to comply with the ADR Procedures under Section VI below. The Claimant’s ability
to proceed with and participate further in the ADR Procedures will be at the discretion of
ORIC and the Debtors and Committee (if they elect to participate), if applicable.

                  2.        Claim Information and Settlement Demand Form

        If ORIC and the Debtors elect not to make an Immediate Claim Settlement Offer, theThe
ADR Notice will include a form (the “Claim Information and Settlement Demand Form”) that
(a) requires the Claimant to (a) make a settlement demand (the “Claimant’s Demand”), and
(b) provide ORIC and the Debtors and (if they elect to participate) certain information and
documentation that will enable ORIC and the Debtors to evaluate the Litigation Claim and the
Claimant’s Demand. The If ORIC and the Debtors elect not to make an Immediate Claim
Settlement Offer, or if the Claimant elects to reject an Immediate Claim Settlement Offer, the
Claimant must return the completed ADR Notice and the Claim Information and Settlement
Demand Form by the Claimant Response Deadline (or, if applicable, the Second Claimant
Response Deadline). The Claimant shall not be required to provide duplicative information to
the extent the Claimant has already provided the requested claim information as supporting
documentation attached to the relevant proof of claim.

        The Claimant’s Demand may not exceed the amount of, or improve the priority set forth
in, the Claimant’s most recent timely-filed proof of claim, if one was filed. The Claimant’s
Demand may liquidate any unliquidated amounts asserted in a proof of claim. The Claimant
may not return the Claim Information and Settlement Demand Form with an unknown,

                                                  -7-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG           Doc 1817-2      Filed 01/18/24     Page 9 of 36




unliquidated, indefinite, contingent, or similar description of the Litigation Claim or the amount
thereof.

       AnyFailure of a Claimant who does notto timely return the completed ADR Notice
and the Claim Information and Settlement Demand Form, unless otherwise agreed to in
writing by ORIC, the Debtors, and the Committee, (i) shall not be entitled to relief from
the ADR Injunction. and (ii) may have its Litigation Claim disallowed in accordance with
will be deemed as a failure to comply with the ADR Procedures under Section VI below.
The Claimant’s ability to proceed with and participate in the ADR Procedures will be at
the discretion of ORIC, and the Debtors and the Committee (if they elect to participate), if
applicable.

         B.       Stage 2: Offer Exchange Procedures

        The second stage of the ADR Procedures will be the following settlement offer and
exchange procedure, requiring the parties to exchange information and settlement offers and
thereby providing the opportunity to resolve the Litigation Claim on a consensual basis without
any further litigation (the “Offer Exchange Procedures”).

        If, after service of the ADR Notice, the Claimant fails to timely respond within any of the
deadlines set forth in these Offer Exchange Procedures, ORIC and the Debtors (if they elect to
participate) will have the option of (i) advancing resolution of the Litigation Claim to mediation
by advising the Claimant that the Litigation Claim will proceed to the next stage of the ADR
Procedures, or (ii) pursuing their rights under Section VI below.

                  1.        Response

       Within 3045 days after ORIC and (if they elect to participate) the Debtors’ receipt of a
Claimant’s Demand, ORIC and the Debtors shall serve a response on the Claimant and their
counsel, if identified (the “Response”). The Response shall either: (a) accept the Claimant’s
Demand; (b) make an offer to settle the Litigation Claim (the “Offer”); or (c) request additional
information.

         If the Claimant’s Demand indicates that it is a Potential Third-Party Payor Litigation
Claim, ORIC and the Debtors will provide 10 days’ notice to the applicable Third-Party Payor of
its rights to elect to participate in the Offer Exchange Process. If the Third-Party Payor elects to
participate in the Offer Exchange Process, ORIC shall not make or accept any settlement offers
without the prior written consent of the Third-Party Payor; provided, however, that if the
settlement amount does not require payment by such Third- Party Payor, ORIC and the Debtors
may proceed to make or accept settlement offers without the consent of the Third- Party Payor.

                            aA.     Acceptance of Claim. ORIC and the Debtors (and/or the
                            Third-Party Payor, if applicable) may accept the Litigation Claim as
                            asserted in the Claimant’s Demand. In such event, the Litigation Claim
                            will be actually paid by ORIC (or the Third-Party Payor, if applicable) in
                            accordance with the applicable insurance policy.



                                                    -8-
04724178 v1 - 03701 / 117
             Case 23-11069-CTG            Doc 1817-2       Filed 01/18/24     Page 10 of 36




                            b.      Offer. ORIC and the Debtors may make a written good faith offer
                            of settlement based upon its review of the Litigation Claim. The Offer
                            shall be made in consultation with the Third-Party Payors with respect to
                            Potential Third-Party Payor Litigation Claims. Any Offer in excess of
                            $500,000 (or, to the extent that the Insurers’ LOC Proceeds/Collateral
                            have been exhausted, $250,000) shall require the Debtors’ and the
                            Committee’s written consent (not to be unreasonably withheld), which
                            consent shall be deemed given if not expressly withheld within
                            twenty-four hours if the Offer is made outside an in-person mediation and
                            within three hours if the Offer is made during an in-person mediation
                            (including an ongoing Zoom mediation).

                            c.      Additional Information.       ORIC and, the Debtors, and the
                            Committee, (and/or the Third-Party Payor, if applicable) may request a
                            reasonable amount of supplemental information or clarification of
                            information to assist in a good faith evaluation of any particular Litigation
                            Claim. The Claimant shall serve such additional reasonable information
                            so that ORIC and the Debtors (and the Third-Party Payor, if applicable)
                            actually receive such information within 125 days of the mailing (or
                            e-mailing if the Claimant has counsel) of such request. If the Clamant
                            timely responds to such a request, the time period within which ORIC and
                            the Debtors (and/or the Third-Part Payor, if applicable) may otherwise
                            respond to the Claimant’s Demand shall be extended until 230 days after
                            ORIC and the Debtors (and the Third-Party Payor, if applicable) have
                            actually received the supplemental information. The Litigation Claim will
                            not be processed further until the additional information requested has
                            been provided.

                  2.        Claimant’s Reply.

       Each Claimant shall have 230 days after service of the Offer within which to reply (the
“Reply Deadline”). The Claimant’s reply shall be in writing and signed by the Claimant or an
authorized representative.

        If the Offer is accepted, the Litigation Claim shall be paid as set forth in Section V.I
below. If the Offer is rejected, or the Claimant does not respond by the Reply Deadline., the
Litigation Claim will automatically advance to the next stage of the ADR Procedures. If the
Claimant does not respond by the Reply Deadline, ORIC and the Debtors may seek relief in
accordance with Section VI below.

                  3.        Confidentiality of Offer Exchange Procedures

        All offers made and communications exchanged during the Offer Exchange Procedures
shall be provided to ORIC, the Debtors, and the Committee. All such communications shall be
confidential among ORIC, the Debtors, the Committee, applicable Third-Party Payors, and the
relevant Claimant, and no party shall disclose the contents of such offers or communications
without the prior written consent of each of the other parties. Any and all statements and offers

                                                     -9-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG          Doc 1817-2         Filed 01/18/24   Page 11 of 36




made during the Offer Exchange Procedures shall be subject to Federal Rule of Evidence 408
and shall not be subject to discovery in any subsequent proceeding.

         C.       Stage 3: Informal Resolution Procedures

        If a settlement is not reached as a result of the Offer Exchange Procedures outlined in
Section V.B above, then counsel for ORIC, the Debtors (if they elect to participate), and the
Third-Party Payor, if applicable, and the Claimant, or counsel for the Claimant, if represented by
counsel, will meet in-person or over Zoom within seven days to negotiate further to determine if
a resolution can be reached (the “Informal Resolution Procedures”).

         D.       Stage 4: Mediation

        If a Litigation Claim is not resolved pursuant to the Offer Exchange Procedures or the
Informational Resolution Procedures set forth in Section V.C above, the next stage of the ADR
Procedures will be mediation, in which case the following mediation procedures will apply (the
“Mediation Procedures”). Any party may be represented by legal counsel, although the
participation of legal counsel shall not be required to conduct the Mediation Procedures.

                  1.        Mediation Notice

       If a Litigation Claim is not resolved pursuant to the Offer Exchange Procedures or the
Informal Resolution Procedures, ORIC shall serve a notice of mediation (the “Mediation
Notice”), substantially in the form annexed hereto as Exhibit C, on the Litigation Claimant
within 10 days after the completion of the Offer Exchange Procedures or as soon thereafter as is
reasonably practicable.

        With respect to any Potential Third-Party Payor Litigation Claims, ORIC will also serve
the Mediation Notice on the applicable Third-Party Payor and shall give such Third-Party Payor
10 days’ notice of any mediation and the opportunity to participate. If the Third Party Payor
elects to participate in the Mediation Procedures, ORIC shall not make or accept any settlement
offers without the prior written consent of the Third Party Payor; provided, however, that if the
settlement amount does not require the participation by such Third Party Payor in any respect,
ORIC and the Debtors may proceed to make or accept settlement offers without the consent of
the Third Party Payor.

                  2.        Appointment of a Mediator.

       ORIC and the Debtors (if they elect to participate) shall identify three experienced
mediators for consideration by the Claimant. The Claimant shall select one of the mediators
from the list.

        All mediators shall be impartial and neutral. No mediator shall have any financial or
personal interest in or relation to the proceedings or, except where otherwise agreed by the
parties, in any related matters.

                  3.        Fees and Costs of a Mediator.


                                                   -10-
04724178 v1 - 03701 / 117
             Case 23-11069-CTG            Doc 1817-2        Filed 01/18/24   Page 12 of 36




       The fees and costs of the mediator shall be divided evenly between Claimant(s), on the
one hand, andpaid by ORIC and/or the Third-Party Payor (if applicable) on the other hand;
provided, however, that the Claimant’s portion shall not exceed $500, if applicable. The
Claimant shall bear the cost and expense of its own counsel, experts, witnesses, and prosecution.

                  4.        Location and Scheduling of Mediation.

       The Claimant and, ORIC and (if they elect to participate) the Debtors (and, if applicable,
the Third-Party Payor with respect to any Potential Third-Party Payor Litigation Claims) shall
reasonably confer regarding the time, duration, and location of the Mediation; provided,
however, that the mediation shall occur within 60 days of appointment of the mediator. All
mediation sessions may take place virtually.

                  5.        Mediation Statements.

        On or before 10 days prior to the scheduled mediation, the Claimant shall serve on the
mediator, ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) by email and no
later than by 6:00 p.m. (EST), a non-confidential (as between the parties and the mediator),
pre-mediation statement (the “Opening Statement”), not to exceed 10 pages, excluding any
attachments, setting forth all of the Claimant’s claims and identifying each and every cause of
action or theory the Claimant asserts, including a short and plain statement of the facts and law
upon which the Claimant relies for recovery and maintains entitle it to relief. The Claimant shall
include, as exhibits or annexes to the Opening Statement, any documents, affidavits, or other
evidentiary materials on which the Claimant relies, but which are not attached to the Claimant’s
proof of claim.

        On or before five days after service of the Opening Statement, ORIC and (if they elect to
participate) the Debtors (and/or the Third-Party Payor, if applicable) shall serve on the mediator
and the Claimant, by email and no later than by 6:00 p.m. (EST), a non-confidential (as between
the parties and the mediator) response statement (the “Response Statement”) not to exceed 10
pages, excluding attachments.

        At the mediator’s discretion and direction, the parties may submit additional, confidential
letters or statements to the mediator only, addressing settlement amounts and such related
negotiation matters as the mediator may request.

                  6.        Confidentiality of Mediation.

        All meetings and proceedings, including any statements made and evidence introduced
during the Mediation, shall be confidential among ORIC, the Debtors, the Committee, applicable
Third-Party Payors, the relevant Claimant, and the mediator, and no party shall disclose the
contents of such meetings and proceedings without the prior written consent of each of the other
parties. Any and all statements made and evidence introduced at these meetings and proceedings
shall not be subject to discovery in any subsequent proceeding unless otherwise independently
discoverable under the applicable rules, nor may the mediator serve or be called as a witness in
any subsequent proceeding relating to the Litigation Claim.



                                                    -11-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG          Doc 1817-2       Filed 01/18/24   Page 13 of 36




                  7.        Conclusion of Mediation Procedures/Mediated Settlement.

        The mediator will work with all parties towards reaching a settlement. The mediator
shall not have any authority to impose a settlement upon the parties. Unless otherwise agreed to
by the Claimant, ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) in writing,
the mediation process will terminate 30 days after the close of the initial mediation session. A
settlement reached pursuant to the Mediation Procedures shall be paid as set forth in Section V.I
below. If a settlement does not result from mediation and the mediator advises the Claimant,
ORIC, and the Debtors (and/or the Third-Party Payor, if applicable) that the parties have
participated in good faith but reached an impasse, then Stage 5, as set forth in Section V.E
below, will follow. Unless otherwise agreed to by the Debtors, the Committee and ORIC,
no Claimant may proceed with litigation of or otherwise initiate any process or proceeding
to pursue, the Litigation Claim without having first completing the Mediation Procedures.

                  8.        Duty to Participate in Mediation Procedures

        The failure of any party to attend any mediation conference shall be governed by Local
Bankruptcy Rule 9019-5(c)(iii)(B), and any failure to attend or lack of good faith by any party
during the course of the mediation process may result in court-imposed sanctions.

         E.       Stage 5: Relief from the ADR Injunction

                  1. Relief from the ADR Injunction.

        Completion of the Offer Exchange Procedures and the Mediation Procedures is a
prerequisite for a Claimant to obtain relief from the ADR Injunction. Except as provided below,
the ADR Injunction shall remain in effect against each Claimant until relief from the ADR
Injunction is granted by the Bankruptcy Court with respect to the relevant Litigation Claim or as
otherwise provided for herein. No Claimant shall be granted relief from the ADR Injunction to
commence or continue any action, suit, trial, or other process, including, but not limited to,
discovery, or to pursue its Litigation Claim in any nonbankruptcy forum, until the Claimant has
completed the Offer Exchange Procedures and the Mediation Procedures.

        The ADR Injunction may be modified by a joint stipulation executed by the Debtors,
ORIC, and the Claimant (the “Stipulation”), with the consent of the Committee, to permit the
liquidation of a Litigation Claim that is not resolved through the ADR Procedures. To the extent
the Claimant has completed the Offer Exchange Procedures and the Mediation Procedures, and
the Debtors and Claimant do not execute a Stipulation mutually agreeing to modify the ADR
Injunction, the Claimant may seek relief from the ADR Injunction subject to the following terms
and conditions:

                            a.     When Motion for Relief from ADR Injunction May Be Heard. If a
                                   Litigation Claim has not been resolved upon completion of the
                                   Offer Exchange Procedures and the Mediation Procedures, the
                                   Claimant shall have the right to seek relief from the ADR
                                   Injunction by filing a motion with the Bankruptcy Court; provided,
                                   however, that such Claimant shall waive and release any and all
                                   claims against the Debtors, the Indemnitees, and the Debtors’

                                                   -12-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG        Doc 1817-2       Filed 01/18/24    Page 14 of 36




                                 estates, and may pursue such Litigation Claim(s) with the Debtors
                                 identified solely as nominal parties, solely to the extent of
                                 insurance proceeds, if any. The motion shall be served upon the
                                 Debtors, ORIC, the Committee, and any applicable Third-Party
                                 Payor(s), and their counsel. Unless otherwise sought by the
                                 Claimant, the motion and the hearing on the same shall be subject
                                 to Local Bankruptcy Rules for the District of Delaware.

                            b.   Claimant’s Certificate. A Claimant’s motion seeking relief from
                                 the ADR Injunction must include as an attachment a certification
                                 signed by the Claimant or their attorney certifying that the
                                 Claimant has completed the ADR Procedures and that despite the
                                 Claimant’s good faith participation in such process the Litigation
                                 Claim remains unresolved and unliquidated. In the absence of this
                                 certification, the Bankruptcy Court may summarily deny
                                 Claimant’s motion.

                            c.   No Waiver of Defenses. The submission of any Litigation Claim
                                 to the ADR Procedures shall not constitute or serve as a waiver or
                                 release of any defenses or claims which the Debtors, on their own
                                 behalf or on behalf of their estates, ORIC, or any applicable
                                 Third-Party Payor may have with respect to a Claimant’s request
                                 for modification of the ADR Injunction. The Debtors, ORIC, any
                                 Third-Party Payor, or any other interested party, may oppose a
                                 Claimant’s request for relief from the ADR Injunction on the basis
                                 that the Claimant has not participated in the ADR Procedure in
                                 good faith, or for any other appropriate reason, including, but not
                                 limited to, the applicability of any discharge of the Litigation
                                 Claim under the Bankruptcy Code. Moreover, the submission of
                                 any Litigation Claim to the ADR Procedures shall not constitute or
                                 serve as a waiver or release of any claim or defense which may
                                 otherwise be available to the Debtors, on their own behalf or on
                                 behalf of their estates, ORIC, or any Third Party Payors, including,
                                 but not limited to, any policy condition that may exist at law or in
                                 equity and that may be asserted in defending against any Litigation
                                 Claim, or which impacts insurance coverage for any Litigation
                                 Claim, in the event that the ADR Injunction is modified by order
                                 of the Bankruptcy Court.

         F.       Duty to Negotiate in Good Faith

        During the period of these ADR Procedures, the Claimant, ORIC, and the Debtors (and
the Third-Party Payors, and the Debtors and Committee, if applicable), shall negotiate in good
faith in an attempt to reach an agreement for the compromise of the Litigation Claim; provided,
however, that any dispute as to the underlying value of the claim shall not, in and of itself,
constitute bad faith.


                                                 -13-
04724178 v1 - 03701 / 117
              Case 23-11069-CTG       Doc 1817-2       Filed 01/18/24    Page 15 of 36




         G.       Admissibility of ADR Proceedings

        Other than as expressly provided herein, the submission of any Litigation Claim to the
ADR Procedures, the positions of the parties during compliance with the ADR Procedures, and
any other admissions made during the ADR Procedures, shall not be admissible for any purpose
in any case, matter, or proceeding including, without limitation, trial by any party or third party,
or any proceeding under 11 U.S.C. § 502, and are expressly determined by the provisions herein
not to be admissions by either party. Such positions and statements shall remain confidential
among the parties and any mediator and protected by Rule 408 of the Federal Rules of Evidence.

        The mediator may not be compelled to disclose to the Court or to any person outside the
mediation conference any of the records, reports, summaries, notes, communications, or other
documents received or made by the mediator while serving in such capacity. The mediator may
not testify or be compelled to testify regarding the mediation in connection with any arbitral,
judicial or other proceeding. The mediator will not be a necessary party in any proceedings
relating to the mediation. Nothing contained in this paragraph prevents the mediator from
reporting the status, but not the substance, of the mediation effort to the Court.

         H.       Discovery

        To avoid undue expense or delay, any materials, testimony, or other evidence submitted
by either party during the course of the ADR Procedures, and of the kind normally available in
discovery proceedings may, upon written agreement of the parties, be treated as if submitted in
pretrial discovery proceedings.

         I.       Allowance and Payment of Any Settlement

       If you hold a Litigation Claim with respect to which settlement has been reached
through the ADR Procedures, please read the following carefully. Any settlement reached
pursuant to the ADR Procedures will be paid by ORIC or the Third-Party Payor, if
applicable. Unless the Debtor and the Committee consent otherwise, Yyou must waive and
release any and all claims against the Debtors, their chapter 11 estates, the Indemnitees
and their personal assets, ORIC, and the Third-Party Payor, if applicable, to receive such
payment(s).

       For settlement agreements reached between ORIC, the Debtors (if they elect to
participate), Third-Party Payor(s) (if applicable), the Committee (if applicable), and the
Claimant, ORIC (and/or the Third-Party Payor) will be obligated to and will actually pay
the agreed-upon settlement amounts directly to or on behalf of the Claimant.

VI.      FAILURE TO COMPLY WITH ADR PROCEDURES

        If, absent written agreement by the Debtors and the Committee, a Claimant fails to
comply with the ADR Procedures, negotiate in good faith, or cooperate with ORIC, the Debtors,
or any applicable Third-Party Payor, and as may be necessary to effectuate the ADR Procedures,
the Bankruptcy Court may, after notice and a hearing, find such conduct to be in violation of the
ADR Order or an abandonment of or failure to prosecute the Litigation Claim, or both. Upon
such findings, theThe Bankruptcy Court may, among other things, disallow and expunge the

                                                -14-
04724178 v1 - 03701 / 117
             Case 23-11069-CTG         Doc 1817-2       Filed 01/18/24   Page 16 of 36




consider all parties’ actions during the course of the ADR Procedures in deciding whether the
Claimant should be granted relief from the ADR Injunction and the automatic stay to pursue
their Litigation Claim, in whole or in part, or grant such other or further relief as the Bankruptcy
Court may deem just and appropriate under the circumstances and/or Lift-Stay Motion.

VII.     MODIFICATION OF ADR PROCEDURES BY WRITTEN CONSENT

       Notwithstanding anything to the contrary contained herein, the ADR Procedures,
including, but not limited to, any related deadlines, may be modified or extended by the written
consent of ORIC, the Debtors, the Claimant, and the Committee.

VIII. NOTICE

        Whenever notice or service of papers is required under the ADR Procedures, it shall be
given in the manner provided in the relevant section as follows:

         If to the Debtors:

         Yellow Corporation
         11500 Outlook Street, Suite 400
         Overland Park, Kansas 66211
         Attention:    Legal@myyellow.com

         with copies to (which copies shall not constitute notice):

         Kirkland & Ellis LLP
         300 N. LaSalle, 60654
         Chicago, IL
         Attention:    Michael B. Slade
                       Michael Esser
                       Casey McGushin
                       William T. Pruitt
                       Zak Read
                       Whitney C. Fogelberg
         Email:        michael.slade@kirkland.com
                       Michael.esser@kirkland.com
                       Casey.mcgushin@kirkland.com
                       william.pruitt@kirkland.com
                                      whitney.fogelbergzak.read@kirkland.com


         and

         Kirkland & Ellis LLP
         601 Lexington Avenue
         New York, NY 10022
         Attention:    Allyson Smith
         Email:        allyson.smith@kirkland.com

                                                 -15-
04724178 v1 - 03701 / 117
             Case 23-11069-CTG          Doc 1817-2    Filed 01/18/24   Page 17 of 36




         If to Old Republic Insurance Company:

         Old Republic Risk Management
         307 N. Michigan Avenue
         Chicago, IL 60601
         Attention:    Ozie Lewis
                       Peter Waldron
         Email:        olewis@orrm.com
         and

         Old Republic Risk Management

         445 S. Moorland Road

         Brookfield, WI 53005

         Attention:         Brandon Robison

         Email:             brobisonpwaldron@orrm.com

         If to the Committee:

         Akin Gump Strauss Hauer & Feld LLP
         1 Bryant Park
         Bank of America Tower
         New York, NY 10036
         Attention:    Philip C. Dublin
                       Meredith Lahaie
                       Kevin Zuzolo
         Email:        pdublin@akingump.com
                       mlahaie@akingump.com
                       kzuzolo@akingump.com




                                               -16-
04724178 v1 - 03701 / 117
             Case 23-11069-CTG        Doc 1817-2    Filed 01/18/24   Page 18 of 36




                                            Exhibit A

                                      Litigation Claims List

                   Claimant                                  Claim No(s).
 1.                [●]Acevedo, Rodin, Sr                     [●]4287
 2.                [●]Amaker, Henry                          [●]5469
 3.                [●]Auguste, Micheline                     [●]10265
 4.                [●]Baker, Devin                           [●]15159
 5.                [●]Banda, Anthony                         [●]15432
 6.                [●]Banda, Refell                          [●]15436
 7.                [●]Basinger, James                        [●]1377
 8.                [●]Bienvenu, Beatrice                     [●]12484
 9.                [●]Binette, Myriam                        [●]502
 10.               [●]Bk, Minor                              [●]15350
 11.               [●]Boblitt, Robert E.                     [●]13798
 12.               [●]Bowman, Janet                          [●]12247
 13.               [●]Brown, Melissa D. (As Adm. Est. Of     [●]15297
                   MD Brown)
 14.               [●]Brown, Michael Shad                    [●]16767
 15.               [●]Bufford, Russell                       [●]10184
 16.               [●]Buford, Virginia                       [●]14888
 17.               [●]Canton, Andrew                         [●]1943
 18.               [●]Carillo, Robert                        [●]18025
 19.               [●]Charmaine, Yanto And Deleon, James [●]3605
                   Carl
 20.               [●]Childs, Dontoi                         [●]16660
 21.               [●]Chung, Seung                           [●]3568; 3569; 3570
 22.               [●]Clarin, Shannon                        [●]784
 23.               [●]Clark, Jean                            [●]4657
 24.               [●]Clark, Paul                            [●]4656
 25.               [●]Comm. Of Ma Dept. Industrial Accidents [●]16036
 26.               [●]Cook, Emily                            [●]15068
 27.               [●]Cook, Kevin                            [●]15389; 15390; 15391
 28.               [●]Cruz, Yeferson Deleon                  [●]287
 29.               [●]Cuji-Usha Marvo V.                     [●]4289
 30.               [●]Daugherty, Donna Lee                   [●]14230
 31.               [●]Davis, Hatley                          [●]16137
 32.               [●]Davison, Anton                         [●]4363
 33.               [●]De La Rosa, Kimberly                   [●]14816
 34.               [●]Degenkolb, Susan                       [●]13616
 35.               [●]Deliyah, Rogers                        [●]3621
 36.               [●]Deterding, Philip B.                   [●]14439
 37.               [●]Diaz, Albery Lora                      [●]14959
 38.               [●]Diaz, Yeudy Lora                       [●]14961


04724178 v1 - 03701 / 117
          Case 23-11069-CTG       Doc 1817-2     Filed 01/18/24   Page 19 of 36




              Claimant                                 Claim No(s).
39.           Drew, Derrick                            4651
40.           Drinkwine, Nathan                        16437
41.           Dunlap, Kelsi                            13325
42.           Dysart Taylor Mcmonigle Brumitt & Wilcox 18710
43.           Ellis, Jason E.                          4399; 15919
44.           Elsamady, Ahmed                          4398
45.           Feliu, Alexei                            10896
46.           Fezza, James                             5468
47.           Funches, Collin Tyus                     15395
48.           Gaito, Daniela                           17247
49.           Garcia, Margarita                        10477
50.           Gatton, Molly                            1237
51.           Gibby, Gary W.                           15153; 15392
52.           Gilmore, Jimmie And Natterlene           14689
53.           Gomez, Casey                             15439
54.           Goodman, Sopia                           16971
55.           Grant, Ariana                            15961
56.           Grant, Briana                            15964
57.           Grant, Yona W                            15956
58.           Groves, Brett                            4245
59.           Guttenplan, Alys                         10478
60.           Hage, Richard M Ver                      16347
61.           Hall, Derek                              15766
62.           Hanford, Paige                           2410
63.           Harrison, Zachary                        15087
64.           Hauser, Patrick                          18308
65.           Hershowitz, John                         16337
66.           Hill, Antonio                            17182
67.           Hobbs, Enrique                           13583
68.           Howard, James Charles                    11337
69.           Howard, James Charles                    11337
70.           Hubert, Jimmie And Janel                 12504
71.           Hucks, Novella N                         16073
72.           Hudson, Christine And Terry              15410
73.           Immer, Mark                              14780
74.           Immer, Mark                              15218
75.           Jackson, Christopher                     5461
76.           Jackson, Leroy F                         16061
77.           Jones, Ben                               12391
78.           Jones, Dolores                           16668
79.           Kayla Melancon                           2648
80.           Kelsie, Adam S                           10990
81.           Khaira, Jarnail Singh                    10234


000ror! Unknown document property name.4724178 v1 - 03701 / 117
          Case 23-11069-CTG       Doc 1817-2     Filed 01/18/24   Page 20 of 36




              Claimant                                   Claim No(s).
82.           Kiel, Joshua                               15344
83.           Kinley Golf                                17860
84.           Kirn, Amanda                               10801
85.           Kirn, Colenan B                            10800
86.           Kitzmiller, Christie                       10671
87.           Kline, Stephen                             1855
88.           Koslow Law Llc                             15938
89.           Kouloujian, Aram                           17250
90.           Kouloujian, Hagop                          17241
91.           Kriscta Lucio As Next Friend Of            3620
92.           Kunkle, Mathew                             10305
93.           Lambert, Ricky                             15558
94.           Lapolla, Blaise                            3389
95.           Lee, Alissa                                802
96.           Lemons, Rochelle                           16664
97.           Leung, Marina                              14980
98.           Ligons, Georgiann                          15966
99.           Littral, William                           14124
100.          Lopez-Builes, Martha                       13806
101.          Louro, Emily                               10911
102.          Luce, John                                 17088
103.          Lynberg & Watkins Apc                      15072
104.          Madden, Jaylin                             14697
105.          Madden, Jaylin J                           14694
106.          Malcolm, Peter                             5497
107.          Mann, Asia                                 17737
108.          Martin, Janae                              18091
109.          Maryland Plating & Servicing Inc           12227
110.          Mata, Martin Nava                          17964
111.          Maxwell Wasmiller Guardian For             5335
112.          Mccully, Alexis                            15050
113.          Mcghee, Derrick                            14365
114.          Mckenzie, Cecile                           562
115.          Mckinney, Damon                            2749
116.          Mencke, Charles W                          1260
117.          Meza, Ramiro                               15352
118.          Miller, Bob                                1849
119.          Mills, Destiny                             17454
120.          Mills, Jada                                17452
121.          Mills, Sky                                 17455
122.          Misquez, Aaron S                           15808
123.          Mongelli, Paul L                           3625
124.          Monsalve, Ailyn Sayegh C/O Yelimar K S     17599


000ror! Unknown document property name.4724178 v1 - 03701 / 117
          Case 23-11069-CTG       Doc 1817-2     Filed 01/18/24   Page 21 of 36




              Claimant                                Claim No(s).
125.          Monsalve, Yelimar Karina Sira           17598
126.          Moonilal-Singh, Kavir                   12599
127.          Morgan, Angela                          17623
128.          Morgan, Krislyn                         17637
129.          Misquez, Aaron S.                       15808; 15812
130.          Monsalve, Yelimar Karina Sira           3403; 17598; 17599
131.          Moonilal-Singh, Kavir                   13597; 13599
132.          Napiwocki, Jill                         4658
133.          Nasilai, Kalesita                       16676
134.          Nasser, Amer                            10015
135.          New Enterprise Stone & Lime Company Inc 16940
136.          New Enterprise Stone& Lime Company Inc 16962
137.          New York State Dept Of Transportation   250
138.          Newport, Michael E                      1413
139.          Newton, Jesse Isreal                    16346
140.          Nextmed Reviews Llc                     16141
141.          Nibbelin, David                         10126
142.          Nowicki, Lawrence                       16187
143.          O'donnell, Richard                      16661
144.          Oncor Electric Delivery                 14209
145.          Openshaw, Anne-Celeste                  16118
146.          Ortega, Gustavo (Ocegueda)              4703
147.          Osman, Tariq                            12893
148.          Peguero, Yency                          608
149.          Perez-Ortiz, Yuritsi                    15843
150.          Perez-Valencia, Lexington               14563
151.          Ponce, Leonel                           17565; 17568; 17569; 17572
152.          Powell, Anthony                         15592
153.          Preciado, Maria J                       13734
154.          Prescott, Lomekina                      16674
155.          Proctor, Rockey                         15022
156.          Richardson, Erica                       15950
157.          Riley, Cherry B                         3636
158.          Rivera Romero, Leslie                   2985
159.          Rizzi, Tony                             11657
160.          Robles, Samuel                          17957
161.          Rodriguez, Ashlee                       2945
162.          Rodriguez, Raudin                       14886
163.          Ropshaw, Cade                           17755
164.          Salazar, Miranda                        12089
165.          San Diego Gas & Electric Company        148
166.          Sanders, John And Hannah                3716
167.          Sansom, Larry E, Sr                     1768


000ror! Unknown document property name.4724178 v1 - 03701 / 117
          Case 23-11069-CTG       Doc 1817-2     Filed 01/18/24   Page 22 of 36




              Claimant                                   Claim No(s).
168.          Scheele, Walter W                          1323
169.          Schimmoller, James D                       14738
170.          Selby, Robert                              16071
171.          Session, Qusarn                            10051
172.          Shobey, James                              3327
173.          Siro-Monsalve, Yelimar                     3403
174.          Sneed, Hodges                              16012
175.          Socci, Theodore M                          13262
176.          Sosa, Juan                                 10476
177.          Sousa, Nicole                              16706
178.          Stephens, Jeffrey And Jennifer             15085
179.          Stine Llc                                  11975
180.          Tav Enterprises Llc                        3676
181.          Tav Enterprises Llc                        3675
182.          Thomas & Company Lpa                       18509
183.          Tinsley, Jesstina                          10049
184.          Tk, Minor(M Kiel118 Garrett Drfolsomca)    15347
185.          Totten, Gregory                            5460
186.          Transhield Inc                             16126
187.          Trice, Whittni L                           16064
188.          Turakulov, Damir                           15875
189.          Ulloque, Omeira                            10014
190.          Vanegas, Christopher                       13432
191.          Vannatta, Michael L                        18374
192.          Veasey, Zackary                            16283
193.          Vega, Gabriela                             12178
194.          Waters-Ocasio, Laureen                     17576
195.          Webb, Jennifer                             3379
196.          Williams, Bernard                          16068
197.          Windh, Tobias                              12840
198.          Winston, Joyce A                           2413
199.          Wyszynski, Paul                            11187




000ror! Unknown document property name.4724178 v1 - 03701 / 117
             Case 23-11069-CTG   Doc 1817-2   Filed 01/18/24   Page 23 of 36




                                      Exhibit B

                                     ADR Notice




04724178 v1 - 03701 / 117
              Case 23-11069-CTG               Doc 1817-2         Filed 01/18/24        Page 24 of 36




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )     (Jointly Administered)
                                                                     )

             ADR NOTICE AND DEADLINE FOR SUBMISSION OF INFORMATION

Service Date:
Claim No(s).:
Claimant:
Address:
Claimant’s Attorney (if known):

Deadline to Respond (“Response Deadline”):

        You are receiving this notice (the “ADR Notice”) because your claim against Yellow
Corporation and its affiliated debtors (collectively, the “Debtors”) or against any Indemnitees has
been submitted to alternative dispute resolution pursuant to the alternative dispute resolution
procedures (the “ADR Procedures”) established by order of the United States Bankruptcy Court
for the District of Delaware entered in the above-captioned cases on ______________, 20234
[Docket No. [●]] (the “ADR Order”). The ADR Procedures will be implemented, administered,
and coordinated by Old Republic Insurance Company (“ORIC”), in consultation with the
Debtors and the Committee.

       A copy of the ADR Procedures, as approved by the ADR Order, is annexed hereto. Any
terms not defined herein or in any subsequent notices that you may receive regarding the ADR
Procedures shall have the meanings attributed to them in the ADR Procedures.

       YOU SHOULD CONSIDER CONSULTING A LAWYER. Your participation in
these ADR Procedures may either be by you or, if applicable, by a lawyer that has filed an
appearance on your behalf in the Bankruptcy Court or the court in which your previously filed
lawsuit or other proceeding is pending.

       ORIC and the Debtors, in consultation with the Committee, have reviewed your claim(s)
and offer the amounts set forth in the attached Immediate Claim Settlement Offer in full



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.



04724178 v1 - 03701 / 117
             Case 23-11069-CTG     Doc 1817-2    Filed 01/18/24    Page 25 of 36




satisfaction of your claims. You must respond to the Immediate Claim Settlement Offer either
by:

       (1)     signing this ADR Notice and completing the Immediate Claim Settlement Offer
and accepting such offer; or

       (2)   by rejecting the offer and completing the attached Claim Information and
Settlement Demand Form.

         If you accept the offer, you do not need to complete the Claim Information and
Settlement Demand Form. If you reject the offer, you must complete and return the Claim
Information and Settlement Demand Form, which must include a settlement demand. If you do
not return this singned ADR Notice and the Immediate Claim Settlement Offer so that it is
received by ORIC and the Debtors by the Response Deadline, resolution of your Claim will
be governed by Section VI of the ADR Procedures. The Claimant’s ability to proceed with
and participate in the ADR Procedures will be at the discretion of ORIC, the Debtors (if
they elect to participate) and the Committee, if applicable. Any settlement reached
pursuant to these ADR Procedures will be paid by ORIC (and/or any applicable
Third-Party Payor). Unless the Debtor and the Committee consent otherwise, Yyou must
waive and release any and all claims against the Debtors, their chapter 11 estates, the
Indemnitees and their personal assets, and ORIC and the Third-Party Payor, if applicable,
to receive such payment(s).

        If you do not accept the Immediate Claim Settlement Offer, or if no Immediate
Claim Settlement Offer was made, you are required to complete and return this ADR
Notice and the attached Claims Information and Settlement Demand Form. You must
complete all sections of the Claims Information and Settlement Demand Form, including
(1) the Section I Settlement Demand which is the amount you offer to settle your claim for;
and (2) the Section II Claim information section, along with all supporting documentation.
The ADR Notice and the Claims Information and Settlement Demand Form must be
returned to ORIC and the Debtors by the Response Deadline. If you fail to comply with
this requirement, your claims may be disallowed, discharged, released, and/or waived
pursuant to Section VI ofFailure to return this ADR Notice and the Claims Information
and Settlement Demand Form by the Response Deadline will be deemed as a failure to
comply with the ADR Procedures. under Section VI thereof . The Claimant’s ability to
proceed with and participate in the ADR Procedures will be at the discretion of ORIC, the
Debtors (if they elect to participate) and the Committee, if applicable.



All responses must be sent to counsel to the Debtors and ORIC, as set forth in the ADR
Procedures.




04724178 v1 - 03701 / 117
             Case 23-11069-CTG    Doc 1817-2     Filed 01/18/24   Page 26 of 36




        Pursuant to the ADR Procedures and ADR Order, your Settlement Demand may
not (i) include or make an unliquidated, unknown, or similar demand; and/or (ii) exceed
the amount of, or improve the priority set forth in, your most recent timely-filed proof of
claim, if any. Your failure to return the Claim Information and Settlement Demand Form
with a Settlement Demand for an amount certain may result in the Debtors seeking
disallowance, discharge, release, and/or waiver of the claim pursuant to section VI of the
ADR Procedures.

         I HAVE READ AND UNDERSTAND THIS NOTICE.


Date:
                                          Claimant Signature or Authorized Person


                                          Print Claimant or Authorized Person Name


EACH CLAIMANT MUST SIGN THIS ADR NOTICE. ADDITIONAL CLAIMANTS
MUST SIGN AND PRINT THEIR NAME ON A SEPARATE SHEET.




04724178 v1 - 03701 / 117
             Case 23-11069-CTG      Doc 1817-2      Filed 01/18/24    Page 27 of 36




                                           [optional]

                            IMMEDIATE CLAIM PAYMENT OFFER

Based on a review of documentation relating to your Claim, ORIC and the Debtors, have
determined that you have asserted your Claim in the amount of $____________, and hereby
offers to pay such Claim in the amount of $[____________].

If you agree to payment of your ADR Claim by ORIC in the amount of $____________, please
sign below and return this form to counsel to the Debtors and ORIC at the addresses set forth in
the ADR Procedures. If you accept this offer, you are not required to submit any additional
documentation or information with the return of this form. If you do not accept this offer, you
must complete and return the ADR Notice and the Claims Information and Settlement Demand
Form according to the instructions set forth in the ADR Notice and the ADR Procedures.

Payment of your Claim by ORIC does not entitle you to any other cash payments from the
Debtors and, if paid by ORIC, you will be deemed to have waived and released any and all
claims against the Debtors, their chapter 11 estates, the Indemnitees and their personal
assets, and ORIC and any applicable Third-Party Payor.

I agree to allowance of my claim as set forth in this Immediate Claim Payment Offer

Date:
                                            Claimant Signature or Authorized Person


                                            Print Claimant or Authorized Person Name


                                            Relationship to Claimant if Authorize Person

EACH CLAIMANT MUST SIGN THIS FORM. ADDITIONAL CLAIMANTS MUST SIGN
AND PRINT THEIR NAMES ON A SEPARATE SHEET.

SIGNATURE OF ATTORNEY

Date:
                                            Attorney for Claimant Signature


                                            Print Attorney for Claimant Signature




04724178 v1 - 03701 / 117
             Case 23-11069-CTG            Doc 1817-2        Filed 01/18/24       Page 28 of 36




               CLAIM INFORMATION AND SETTLEMENT DEMAND FORM1

I.        SETTLEMENT DEMAND

YOU MUST INCLUDE AN OFFER FOR WHICH YOU WOULD SETTLE YOUR
LITIGATION CLAIM. PLEASE NOTE THAT IF YOUR OFFER IS ULTIMATELY
ACCEPTED BY ORIC AND THE DEBTORS, ORIC (OR OTHER THIRD-PARTY PAYORS,
IF APPLICABLE) SHALL PAY SUCH LITIGATION CLAIM AND YOU WILL BE DEEMED
TO HAVE WAIVED AND RELEASED ANY AND ALL CLAIMS AGAINST THE
DEBTORS, THEIR CHAPTER 11 ESTATES, THE INDEMNITEES AND THEIR PERSONAL
ASSETS, AND ORIC OR ANY APPLICABLE THIRD-PARTY PAYOR.

Amount for which you offer to settle the Litigation Claim: $___________________.

II.       CLAIM INFORMATION

          CLAIMANT MUST PROVIDE THE FOLLOWING INFORMATION:

1.        Name, address, and telephone number of counsel:




2.        Names, addresses, and telephone numbers
          of all Claimants:




3.        Debtor against whom the claim is brought:

4.        Your date of birth:

5.        Date of injury:

6.        Where did the incident occur?


          Please specify the location and address.

7.        Are you pursuing this claim against any other party? Yes ❑ No ❑
          If yes, against whom (list the name, the addresses and counsel for each party, if known)?


1
      You shall not be required to provide information duplicative of supporting documentation attached to any
      relevant proof of claim filed in the chapter 11 cases.



04724178 v1 - 03701 / 117
             Case 23-11069-CTG         Doc 1817-2      Filed 01/18/24      Page 29 of 36




         Attach additional sheets if necessary.

8.       Did you notify the Debtor(s) in writing of the incident? (If yes, attach a copy of such
         writing.) Yes ❑ No ❑

9.       Is there a pending lawsuit regarding your claim? If yes, identify the court where the
         lawsuit is pending, the case number and the judge, if known and attach a copy of the
         complaint.



10.      What type of injuries or damages do you have arising from the incident? Provide a
         medical description of any injuries. (Please state if the claim is based, in whole or in
         part, on an injury or damages to someone else.)



11.      How did the injury occur?



12.      Did you miss any work as a result of the incident? If so, how many days?



13.      Give the name and address of your employer(s) and your salary or rate of pay at the time
         of the incident.



14.      Was anyone else injured or did anyone else sustain damages at the time of the incident?
         (If yes, list the names and addresses.)



15.      List the names, addresses and phone numbers of all witnesses and people with relevant
         knowledge of your claim (including, but not limited to, any representatives or agents of
         the Debtors).



16.      Are treatments still being given for any injury? Yes ❑ No ❑




04724178 v1 - 03701 / 117
              Case 23-11069-CTG         Doc 1817-2      Filed 01/18/24     Page 30 of 36




         (If yes, provide the name and address of any and all doctors that are currently treating you
         for such injury and the nature of the treatment).

17.      Physician Data

         a.       Give the name and address of any physician, clinic or hospitals that have treated
                  this injury. Include treatment dates. (Attach additional sheets if necessary)




         b.       Itemize all damages you claim, including any damages for emotional distress, loss
                  of consortium or pain and suffering.




         c.       Give the total amount of the medical bills you incurred as a result of suffering
                  your injury.




         d.       Itemize any other expenses you incurred as a result of the incident for which you
                  are making a claim.




         e.       Give a list of medical expenses and amounts paid by your insurance company as a
                  result of your injury.




         f.       Give the name, address and policy number of your insurance company.




04724178 v1 - 03701 / 117
              Case 23-11069-CTG         Doc 1817-2        Filed 01/18/24   Page 31 of 36




18.      Attach the following documents:

         a.       All medical records and bills for medical services received by the Claimant as a
                  result of the injury allegedly caused by the Debtor(s);

         b.       Autopsy/Coroner report, if applicable;

         c.       Death Certificate, if applicable; and

         d.       Photographs, videotapes, and any other documentation you wish to be considered
                  in the evaluation of your claim.

                                       [Signature Page Follows]




04724178 v1 - 03701 / 117
             Case 23-11069-CTG     Doc 1817-2    Filed 01/18/24    Page 32 of 36




NOTICE: UNDER FEDERAL LAW, CRIMINAL PENALTIES MAY BE IMPOSED FOR
FILING A CLAIM CONTAINING FALSE OR MISLEADING STATEMENTS.

I declare under penalty of perjury that the foregoing statements are correct.



Date:
                                          Claimant Signature or Authorized Person


                                          Print Claimant or Authorized Person Name


SIGNATURE OF ATTORNEY


Date:
                                          Attorney for Claimant Signature

                                          ______________________________




EACH CLAIMANT MUST SIGN THIS CLAIM INFORMATION FORM.
ADDITIONAL CLAIMANTS MUST SIGN AND PRINT THEIR NAMES ON A
SEPARATE SHEET.




04724178 v1 - 03701 / 117
             Case 23-11069-CTG   Doc 1817-2   Filed 01/18/24   Page 33 of 36




                                      Exhibit C

                                   Mediation Notice




04724178 v1 - 03701 / 117
              Case 23-11069-CTG               Doc 1817-2         Filed 01/18/24        Page 34 of 36




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                              Debtors.                               )     (Jointly Administered)
                                                                     )

                                             MEDIATION NOTICE

Service Date:
Claim No(s).:
Claimant:
Address:
Claimant’s Attorney (if known):

       By this Mediation Notice, Old Republic Insurance Company (“ORIC”) and the debtors in
the above-captioned chapter 11 cases (the “Debtors”) hereby submit the above-identified claim
(the “Litigation Claim”) in these chapter 11 cases to mediation, pursuant to the alternative
dispute resolution procedures (the “ADR Procedures”) established by order of the United States
Bankruptcy Court for the District of Delaware entered in the above-captioned cases on
____________________, 20234 [Docket No.[_____•]] (the “ADR Order”).

       ORIC and the Debtors have been unable to resolve your Litigation Claim on a consensual
basis with you through the Offer Exchange Procedures or the Informal Resolution Procedures of
the ADR Procedures. As provided for in the ADR Procedures, you and counsel to ORIC and the
Debtors (and any applicable Third-Party Payors) shall work in good faith to select a mediator
pursuant to Section V.D of the ADR Procedures. The ADR Procedures require you to share the
fees and costs of mediation charged by the mediator, up to a cap of $500.

       A complete copy of the ADR Procedures is enclosed for your reference. Please refer to
Section V.D of the ADR Procedures concerning mediation.

                                                       [Signature of ORIC and the Debtors]




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.



04724178 v1 - 03701 / 117
          Case 23-11069-CTG       Doc 1817-2     Filed 01/18/24   Page 35 of 36




34
000ror! Unknown document property name.4724178 v1 - 03701 / 117
  Case 23-11069-CTG     Doc 1817-2   Filed 01/18/24   Page 36 of 36




                             Summary report:
    Litera Compare for Word 11.4.0.111 Document comparison done on
                           1/18/2024 4:40:32 PM
Style name: Color (Kirkland Default)
Intelligent Table Comparison: Active
Original filename: FINAL Proposed ADR Procedures 930p.docx
Modified DMS: iw://dms.kirkland.com/LEGAL/101704313/31
Changes:
Add                                                      272
Delete                                                   194
Move From                                                7
Move To                                                  7
Table Insert                                             161
Table Delete                                             0
Table moves to                                           0
Table moves from                                         0
Embedded Graphics (Visio, ChemDraw, Images etc.)         0
Embedded Excel                                           0
Format changes                                           0
Total Changes:                                           641
